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                                   4                                UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7     IN RE APPLE INC. DEVICE                           Case No. 18-md-02827-EJD
                                         PERFORMANCE LITIGATION
                                   8                                                       ORDER DIRECTING PARTIES TO
                                                                                           SUBMIT UPDATED JOINT STATUS
                                   9                                                       REPORT
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                                  12          The Court has reviewed the parties’ Joint Status Report In Support of Final Settlement
Northern District of California
 United States District Court




                                  13   Approval (Dkt. No. 592). The parties shall submit an updated joint status report no later than

                                  14   January 22, 2021. The status report should include a proposed hearing date for Plaintiffs’ Motion

                                  15   For Final Approval and Motion For Attorneys’ Fees, Expenses, And Service Awards.

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                                              IT IS SO ORDERED.
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                                       Dated: December 16, 2020
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                                  20                                                               EDWARD J. DAVILA
                                                                                                   United States District Judge
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                                       ORDER DIRECTING PARTIES TO SUBMIT UPDATED JOINT STATUS REPORT
